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                        IN THE UNITED STATES DISTRICT COURT
                         FOR THE WESTERN DISTRICT OF TEXAS
                                   AUSTIN DIVISION

DR. THOMAS HUBBARD, PHD                             §
                                                    §
V.                                                  §            1:20-CV-767-RP
                                                    §
SARAH ALLEN BLAKEMORE;                              §
and JOHN DOES 1-10                                  §
                                                    §

                                                ORDER

        Before the Court are: Defendant Sarah Allen Blakemore’s Motion for Leave to Supplement

Defendant’s Motion for Summary Judgment (Dkt. No. 13); and Thomas Hubbard PhD’s Response

(Dkt. No. 18).

        This is a defamation case. Defendant Blakemore moves to supplement the summary

judgment record with a letter she describes as “new evidence.” Blakemore asserts that Hubbard’s

letter dated October 7, 2020, after the submission of her summary judgment motion, and sent to Prof.

Liv Yarrow, an Associate Professor of Classics at Brooklyn College and the Graduate Center of the

City University of New York, is an admission that he is as an advocate for pederasty and pederasts,

while claiming he was unfairly characterized as such in the flyer authored by Blakemore. Hubbard

maintains that the letter to Yarrow does nothing to prove Blakemore’s defense that her statements about

him were opinion, and not fact. He argues that the letter is irrelevant to his claims and Blakemore’s

defenses and therefore should not be considered by the Court. Should the Court allow the letter to be

filed, Hubbard requests the opportunity to respond.

        The Court acknowledges Hubbard’s arguments regarding the relevance of the Yarrow letter and

will take those arguments into account again when evaluating its evidentiary value. By allowing the

Yarrow letter to be filed, the Court is not ruling on the materiality of the evidence.
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       The Court finds that Defendant Sarah Allen Blakemore’s Motion for Leave to Supplement

Defendant’s Motion for Summary Judgment (Dkt. No. 13) should be GRANTED, that Exhibit 13-1

to Docket No.13 should be FILED as supplemental summary judgment evidence, and that Hubbard is

ORDERED to file any response or supplement to the additional evidence within seven days from the

date of this Order.

       SIGNED this 8th day of April, 2021.




                                          _____________________________________
                                          ANDREW W. AUSTIN
                                          UNITED STATES MAGISTRATE JUDGE




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